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  10
  11                               UNITED STATES DISTRICT COURT
  12                              CENTRAL DISTRICT OF CALIFORNIA
  13
       ALEKSANDR KOVALERCHIK, an          )              CASE NO. CV13-05419-GHK (FFM)
  14   individual,                        )
                                          )              [PROPOSED] ORDER RE
  15               Plaintiff,             )              STIPULATION AND REQUEST
                                          )              FOR DISMISSAL WITH
  16           v.                         )              PREJUDICE BETWEEN
                                          )              PLAINTIFF AND DEFENDANT
  17   EXPERIAN INFORMATION               )              EXPERIAN
       SOLUTIONS, INC., and DOES 1-100, )
  18   inclusive,                         )                Assigned to the Honorable
                                          )                George H. King
  19               Defendants.            )
       __________________________________ )                Judgment:   July 17, 2014
  20
  21                                               ORDER
  22   PURSUANT TO STIPULATION, IT IS SO ORDERED that all claims of Plaintiff
  23 Aleksandr Kovalerchik against Defendant Experian Information Solutions, Inc. are dismissed,
  24 with prejudice. Plaintiff, Aleksandr Kovalerchik and Defendant Experian Information Solutions,
  25 Inc. shall each bear their own costs and attorneys’ fees.
  26
  27 Date:      6/23/15                             ____________________________________
                                                   JUDGE, United States District Court,
  28                                               Central District of California

       Kovalerchik v. Experian                   [PROPOSED] ORDER RE STIPULATION AND
       USDC Central District Cal                 REQUEST FOR DISMISSAL WITH
       No. CV13-05419-GHK (FFM)                  PREJUDICE                       Page - 1 -
